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              IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

RICHARD D. THOMAS,               |
          Plaintiff,             |
                                 |     CIVIL ACTION FILE
     -vs-                        |
                                 |     NO.: 1:16-cv-03033-LMM
THEODORE JACKSON, SHERIFF OF     |
FULTON COUNTY, GA, et al,        |
          Defendants.            |

UNOPPOSED SECOND EMERGENCY MOTION FOR EXPANSION OF TIME TO
RESPOND TO DEFENDANTS COLONEL MARK ADGER AND CAPTAIN VICKY
WHITE’S MOTION TO DISMISS PURSUANT TO FED.R.CIV.P. 12(b)(6)
           (“UNOPPOSED SECOND EMERGENCY MOTION”)

     Plaintiff moves this Court, on an emergency basis, to allow

him additional time up to and including December 11, 2017

(another 13 additional days) to Respond to Defendants Colonel

Mark Adger’s and Captain Vicky White’s Motion to Dismiss Pursuant

to Fed.R.Civ.P. 12(b)(6) (“Motion”), Defendants are unopposed to

same, and shows this Court as follows:

1.   Plaintiff’s Counsel had a leave of absence from November 1,

     2017 through November 14, 2017 and Plaintiff was allowed to

     respond to said Motion on or before November 28, 2017.

2.   Plaintiff’s undersigned counsel recently returned from a

     trip out of the Country and, unfortunately, caught some sort

     of bug, which he is still fighting.

3.   Counsel is very ill and is now suffering from severe stomach

     cramps (and the ills that befall same), a bad sore throat,

     coughing, and severe congestion, and he is unfortunately

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     unable to do any legal work until Monday, November 27, 2017,

     at the earliest.

4.   Counsel’s doctor has prescribed a very strong antibiotic

     (Zithromax a/k/a Azithromycin)and, per doctor’s orders,

     Plaintiff’s undersigned counsel will be resting and

     recuperating through Wednesday (note due to Thanksgiving

     break and out-of-town guests expected, it now appears that

     next Monday might be counsel’s first day back to work).

5.   Counsel sent opposing counsel a copy of Plaintiff’s Second

     Emergency Motion asking Defendants to consent to same; and,

     Defendants are unopposed to this motion.

6.   Therefore, for the within and foregoing reasons, this Court

     must GRANT Plaintiff’s motion and allow him up to and

     including December 11, 2017 to respond to subject motion.

7.   Plaintiff has included a proposed Order for this Court’s

     review and consideration.

Argument and Citation of Authority:

     This Court has the equitable, inherent and statutory

authority to control matters before it and to grant Plaintiff’s

second emergency motion and allow Plaintiff up to and through

December 11, 2017 to respond to Defendants Colonel Mark

Adger’s and Captain Vicky White’s Motion to Dismiss Pursuant

to Fed.r.civ.p. 12(b)(6) due to Plaintiff’s counsel’s illness,

especially, as here, where Defendants are unopposed to same.

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     WHEREFORE, Plaintiff prays that this Court GRANT his Second

Emergency Motion, allow him an expansion of time to file his

Response to Defendants Colonel Mark Adger’s and Captain

Vicky White’s Motion to Dismiss Pursuant to Fed.R.Civ.P.

12(b)(6) up to and including December 11, 2017, and for such

other and further relief deemed fair, just and/or equitable by

this Court.

     This 20th day of November, 2017.



                                   /s/ Ralph J. Villani
                                 Ralph J. Villani, Esq.
                                 GA Bar No. 727700

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                                 Counsel for Plaintiff




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              IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

RICHARD D. THOMAS,               |
          Plaintiff,             |
                                 |     CIVIL ACTION FILE
     -vs-                        |
                                 |     NO.: 1:16-cv-03033-LMM
THEODORE JACKSON, SHERIFF OF     |
FULTON COUNTY, GA, et al,        |
          Defendants.            |

             COMBINED CERTIFICATION OF COMPLIANCE
                  AND CERTIFICATE OF SERVICE

     This is to certify that this document complies with the

Local Rules and that the font used herein is Courier New 12 point

     This is to certify that I, this day, served opposing counsel

for Defendants with a true copy of Plaintiff’s within and

foregoing Unopposed Second Emergency Motion, by and through this

Court’s CM/ECF efile system to:

                Ashley J. Palmer, Staff Attorney
                Office of the Fulton County Attorney
                141 Pryor Street, SW, Suite 4038
                Atlanta, Georgia 30303
                ashley.palmer@fultoncountyga.gov

     This 21st day of November, 2017.

                                /s/ Ralph J. Villani
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                                 Counsel for Plaintiff


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               IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RICHARD D. THOMAS,                 |
          Plaintiff,               |
                                   |    CIVIL ACTION FILE
     -vs-                          |
                                   |    NO.: 1:16-cv-03033-LMM
THEODORE JACKSON, SHERIFF,         |
FULTON COUNTY, GA, et al,          |
         Defendants.               |

                           (Proposed) ORDER

     This Court having read and considered Plaintiff’s Second

Emergency Motion, and it appearing that Defendants are unopposed

to same, for good cause shown, it is hereby

     ORDERED that Plaintiff shall and does have up to and

including December 11, 2017 to respond to Defendants Colonel

Mark Adger’s and Captain Vicky White’s Motion to Dismiss

Pursuant to Fed.R.Civ.P. 12(b)(6).

     SO ORDERED this_____ day of November,2017.




                                   Hon. Leigh Martin May, Judge
                                   U.S. District Court, NDGa, Atl Div

Prepared by:


/s/ Ralph J. Villani
Ralph J. Villani, Esq.   (11-20-2017)
GA Bar No. 727700

Counsel for Plaintiff


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